Case 1:08-cv-00175-LG-RHW Document 268-9 Filed 11/20/09 Page 1 of 7

Law OFFIces OF

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Jon §. Tiner Hattiesburg Office:
Matthew M. Williams : 100 Dudley W. Conner Street
Adam 8. Harris ‘ Hattiesburg, Mississippi 39401
Telephone: 601-583-0999
"also licensed in TX October 7, 2009 Facsimite: 601-583-0907
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VIA FACSIMILE 601-360-7550
Norman E. Comeaux, Esq.
Federal Bureau of Investigations
100 West Capital Street, Suite 1553
Jackson, MS 39269 Trial Calendar
Re: McBay v. Harrison County, Mississippi, et al. March 8, 2010

Civil Action No. 1:07c¢v1205

Carrubba v. Harrison County, Mississippi, et al. September 13, 2010
Civil Action No. 1:07cv1238

Vanderburg v. Harrison County, Mississippi, et al. May 10, 2010
Civil Action No. 1:08c¢v90

Seal v. Harrison County, Mississippi, et al. March 8, 2010
Civil Action No. 1:08cv175

Dear Mr. Comeaux:

As a follow up to our October 5, 2009 phone conversation, enclosed please find a photo copy
of the back ofa PC in Steve Campbell’s old Harrison County Adult Detention Center office, which
shows the computer name plate data and a felt pen notation, which appear to be:

Video
282A JIN ~ 31186
10/11/06

As this PC is believed to be the one used to view booking area digital videos from the digital
recording computer server, this information may be useful in your inquiry.

EXHIBIT

H

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_ Sincerely,

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/ -
/ Joe C. Gewin

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JCG/tam
Enclosure
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*also ficensed in TX October 2, 2009

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Civil Action No. 1:08cev175

Dear Mr. Comeaux:

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Trial Calendar

March 8, 2010

September 13, 2010

May 10, 2010

March 8, 2010

I would like to confirm your receipt of the attached correspondence sent on September 18,

2009 and inquire as to when we may receive a response to this request.

base (OR)

I look forward to your response.

Sincerely,

JCGiam
Attachment

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Case 1:08-cv-00175-LG-RHW Document 268-9 Filed 11/20/09 Page 6 of 7

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100 West Capital Street, Suite 1553
Jackson, MS 39269

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Telepone: 601-583-0999

Facsimile: 601-583-0997

Current Trial dates,
3 week trial calendar
beginning on:

March 8, 2010

September 13, 2010

May 10, 2010

March 8, 2010

Subsequent to the Harrison County Adult Detention Center booking incident on January 7,
2006 which led to the death of detainee Jessie Lee Williams, the United States Department of
Justice, pursuant to a Subpoena, seized boxes of documents, laptop computers, boxes of audio, VHS,
and DVD recordings, a restraint chair, and numerous other items from the Harrison County Adult
Detention Center. On or about May 2, 2008, boxes of documents and items were returned to the
custody of the Harrison County Sheriff's Department and, with the exception of the restraint chair,
were housed in a room at the law offices of Dukes, Dukes, Keating, & Faneca, P.A. in Gulfport, MS.
Case 1:08-cv-00175-LG-RHW Document 268-9 Filed 11/20/09 Page 7 of7

During the discovery process in the above referenced matters, Plaintiff's counsel have
repeatedly requested that we account for the items seized by the Federal Government, as compared
to the items returned by the Federal Government. In order to respond to the Plaintiff's numerous
requests regarding these items, | would appreciate it if you could assist us in this endeavor, either
by providing information or by directing us to personnel who can provide the information.
Specifically, the Plaintiff's have requested the following information:

1. Documentation regarding the items and documents seized by the Department of
Justice and an inventory of items and documents returned on or about May 2, 2008,
and an accounting of any items not returned for any reason.

2. Among the items seized by the Department of Justice were laptop computers used
by Steve Campbell and Rick Gaston. However, upon information and belief it is our
understanding that two (2) PC’s that were in or near Steve Campbell’s office were
not seized and taken from the premises. We would like to know if the data on either
one or both of these personal computers were downloaded and saved by the
Department of Justice, and if so, we would like to obtain a copy of the downloaded
data.

Haley Broom and I recently met with Mississippi Bureau of Investigations Agent Joel
‘Wallace regarding the itemization of the items that were seized by the Department of Justice. Mr.
Wallace was very helpful and provided us with copies of materials that he had in his possession but
these documents do not appear to be conclusive as to what was seized, what was returned, and
whether the information stored on either one or both of the personal computers was downloaded and
saved by the Department of Justice. We would appreciate it if you would provide us with the
requested information or provide us with contact information for the individual(s) or departments —
who may be able to assist in this matter. I am enclosing a copy of the materials seized by the
- Department of Justice (provided by MBI Agent Wallace) and a copy of the materials returned to
Dukes, Dukes, Keating & Faneca as inventoried by the Harrison County Sheriff's Department.

I look forward to your response.

Sincerely,

(Fee Cf
/

Joe C, Gewin

JCG/tam
